     Case 2:21-cr-00436-DS Document 11 Filed 11/16/21 PageID.34  Page 1 of 3
                                                              FILED
                                                          2021 NOV 16
                                                              CLERK
                                                       U.S. DISTRICT COURT


                      IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH

     UNITED STATES OF AMERICA,
                                                Case No. 2:21 cr 436 DS
                       Plaintiff,

           vs.                                  ORDER GRANTING MOTION FOR
                                                PROTECTIVE ORDER
     MATTHEW JONES,

                       Defendant.               Magistrate Judge Dustin Pead



        Based upon the United States’ Motion for Protective Order, and stipulation of the

parties, the Court hereby finds that a protective order is necessary and appropriate in this

case to prevent harmful disclosure of the personal identifying information of various

individuals, while still preserving the defendant’s right to a fair trial and meaningful

discovery. Pursuant to the Court’s authority under Federal Rule of Criminal Procedure

16(d) (l), it is HEREBY ORDERED:

1.      That the United States provide the defendant unredacted copies of the discovery in

this matter including documents that contain the personal identifying information of third

parties.

2.      The unredacted documents produced to the defendant pursuant to this order shall

not be disclosed or made available for inspection or copying to any person, other than as

permitted in Paragraph 3.

3.      Unredacted documents provided to the defendant pursuant to this order may be
     Case 2:21-cr-00436-DS Document 11 Filed 11/16/21 PageID.35 Page 2 of 3




further disclosed to the following people: (a) counsel for the defendant; (b) associates,

secretaries, paralegals, private investigators, forensic accountants and other employees or

independent contractors of such attorney to the extent necessary to render professional

services in this criminal prosecution; and (c) court officials involved in this case.

4.     The defendant and counsel stipulate to the protective order. Copies of the

unredacted discovery, photographs of the discovery shall not be provided to the

defendant nor will the defendant be allowed to make handwritten copies of the

unredacted discovery.

5.     Persons obtaining access to the documents produced pursuant to this order shall

use the information only for the preparation and conduct of this criminal trial, and any

connected hearings or appeals. No information disclosed pursuant to this order shall be

used for any other purpose or any other proceeding.

6.     Within 90 days of the conclusion of this case, all documents produced pursuant to

this order, and all copies thereof (other than exhibits of the court) shall be returned to the

United States Attorney’s Office. Alternatively, counsel for the defendant may inform the

United States Attorney’s Office in writing that all such copies have been destroyed.

7.     Counsel for the defendant is responsible for employing reasonable measures to

control duplication of, and access to, the unredacted discovery documents.

//

//

//

//

                                               2
     Case 2:21-cr-00436-DS Document 11 Filed 11/16/21 PageID.36 Page 3 of 3




8.     The provisions of this order governing disclosure and use of the documents shall

not terminate at the conclusion of this criminal prosecution.



       Dated this 16th day of November 2021.



                                          __________________________
                                          Dustin Pead
                                          United States District Court
                                          Magistrate Judge




                                             3
